* Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 1 of 8 PagelD 1112

Official Form 417A (12/18)

[Caption as in Form 416A, 416B, or 416D, as appropriate] 322 =
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NOTICE OF APPEAL AND STATEMENT OF ELECTION 292 Co

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Case No. 6!2(-—ev- 0118 -F2e

on

Part 1: Identify the appellant(s)

1. Name(s) of appellant(s): .
Tsragel Orero ava Pura Ro dvi q{ueZz.

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this

appeal:
For appeals in an adversary proceeding. For appeals in a bankruptcy case and not in an
OQ Plaintitr adversary proceeding.
Q) Defendant Q) Debtor
Q) Other (describe) QO) Creditor
Q) Trustee

Q) other (describe)

Part 2: Identify the subject of this appeal

1. Describe the judgment, order, or decree appealed from: Order of Drsmis 64 j pac -4 92

2. State the date on which the judgment, order, or decree was entered: Ja NuUAYY 27, 202.3

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
and telephone numbers of their attorneys (attach additional pages if necessary):

1. Party: Attorney: _S€e a t-ftac hed /, sf,
2. Party: Attorney:
Official Form 417A Notice of Appeal and Statement of Election

page 1
Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 2 of 8 PagelD 1113

Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

{f a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

Q Appellant(s) elect to have the appeal heard by the United States District Court rather than by
the Bankruptcy Appellate Panel.

Part 5: Sian below
anrere

Signature of attorney for appellant(s) (or appellant(s) February 23 2023
if not represented by an attorney) / 7

oo

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):
72-/@ Glasgow Avenue
Or (An db -Fforvidq 32819
2mar{s rayemntg 2500 @ yahoo. com
Tel. Yorv-4A47O-3B75 9!

Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.

[Note to inmate filers: if you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director's Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]

Official Form 417A Notice of Appeal and Statement of Election page 2
‘ Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 3 of 8 PagelD 1114

PARTIES LIST

1. NEWREZ LLC D/B/A SHELLPOINT MORTGAGE
SERVICING

Lauren G, Raines, Esq.

BRADLEY ARANT BOULT CUMMINGS LLP
100 N. Tampa Street, Suite 2200

Tampa, FL 33602

Tel: (813) 559-5500 | Fax: (813) 229-5946
Email: lraines@bradley.com

Elizabeth R. Brusa, Esq.

BRADLEY ARANT BOULT
CUMMINGS LLP

100 N. Tampa Street, Suite 2200

Tampa, FL 33602

Tel: (813) 559-5500 | Fax: (813) 229-5946
Email: lraines@bradley.com

2. BANK OF NEW YORK MELLON

Lauren G. Raines, Esq.

BRADLEY ARANT BOULT CUMMINGS LLP
100 N. Tampa Street, Suite 2200

Tampa, FL 33602

Tel: (813) 559-5500 | Fax: (813) 229-5946
Email: Iraines@bradley.com

Elizabeth R. Brusa, Esq.

BRADLEY ARANT BOULT CUMMINGS LLP
100 N. Tampa Street, Suite 2200

Tampa, FL 33602

Tel: (813) 559-5500 | Fax: (813) 229-5946
Email: lraines@bradley.com
‘Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 4 of 8 PagelD 1115

3. TROMBERG MORRIS & POULIN PLLC.

Jason Joseph, Esq.

Tromberg, Morris & Poulin, PLLC
1515 South Federal Highway, Suite 100
Boca Raton, FL 33432

Telephone #: 561-338-4101

Fax #: 561-338-4077

Email: eservice@tmpplic.com

4, ANDREA R. TROMBERG

Jason Joseph, Esq.

Tromberg, Morris & Poulin, PLLC
1515 South Federal Highway, Suite 100
Boca Raton, FL 33432

Telephone #: 561-338-4101

Fax #: 561-338-4077

Email: eservice@tmppllc.com

5. BOB P. LEBLANC

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Bivd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha. Baker@myfloridalegal.com
‘ Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 5 of 8 PagelD 1116

6. LISA T. MUNYON

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Blvd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha.Baker@myfloridalegal.com

7. CHAD K. ALVARO

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Blvd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha.Baker@myfloridalegal.com

8 VINCENT FALCONE Ill

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Blvd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha.Baker@myfloridalegal.com
" Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 6 of 8 PagelD 1117

9, RICHARD B. ORFINGER

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Blvd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha. Baker@myfloridalegal.com

10. JAY P. COHEN

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Bivd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha.Baker@myfloridalegal.com

11. FREDERIC RAND WALLIS

Samantha-Josephine Baker

Assistant Attorney General

Office of the Attorney General

501 E. Kennedy Blvd., Suite 1100

Tampa, FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886
Email: Samantha.Baker@myfloridalegal.com
’ Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 7 of 8 PagelD 1118

CERTIFICATE OF SERVICE
IT HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Appeal was
submitted for filing with the Clerk of the Court on February 23, 2023, and served via

electronic mail to all parties listed below:

Lauren G. Raines, Esq.

BRADLEY ARANT BOUL T

CUMMINGS LLP

100 N. Tampa Street, Suite 2200

Tampa, FL 33602

Tel: (813) 559-5500| F:(813) 229-5946

Email: lraines@bradley.com

Counsel for Defendants Defendants NewRez LLC. D/B/A

Shell point Mortgage Servicing and Bank of New York Mellon

Elizabeth R. Brusa, Esq.

BRADLEY ARANT BOULT

CUMMINGS LLP

100 N. Tampa Street, Suite 2200

Tampa, FL 33602

Tel: (813) 559-5500 | F: (813) 229-5946

Email: lraines@bradley.com

Counsel for Defendants NewRez LLC. D/B/ A

Shell point Mortgage Servicing and Bank of New York Mellon

Jason Joseph, Esq.

Tromberg, Morris & Poulin, PLLC

1515 South Federal Highway, Suite 100
Boca Raton, FL 33432

Telephone #: 561-338-4101

Fax #: 561-338-4077

Email: eservice@tmpplle.com

Counsel for Defendants Andrea R. Tromberg
And Tromberg Morris & Poulin PLLC

-]-
.

* Case 6:21-cv-00118-PGB-DCI Document 90 Filed 02/23/23 Page 8 of 8 PagelD 1119

Samantha-Josephine Baker

Assistant Altorney General

Office of the Attorney General

501 E. Kennedy BI vd., Suite 1100

Tampa , FL 33602-5242

Tel: 813-233-2880 | Fax: (813) 233-2886

Email: S amantha.Baker @ myflor idalegal.com
Counsel for Defendants Le Blanc, Munyon , Alvaro,
Falcone, Orfinger . Cohen, Wallis

Jo.

Israel Otero Pura Rodriguez

7216 Glasgow Ave. 7216 Glasgow Ave
Orlando, FL 32819 Orland o, FL 32819
Phone:407-470-3759 Phone: 407-470-3759
rayomtg2000@yahoo.com rayomtg2000 @yahoo.com
